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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION


JOHN DOE,                                          §
                      Plaintiff                    §
                                                   §                 SA-22-CV-00553-XR
-vs-                                               §
                                                   §
SARMA COLLECTIONS, INC.,                           §
            Defendant                              §
                                                   §
                                                 ORDER

       On this date, the Court considered the status of this case.

       Plaintiff commenced this case by filing his Complaint on May 27, 2022. ECF No. 1. Plaintiff

filed an affidavit of service indicating that Defendant had been served on June 13, 2022. ECF

No. 5. Accordingly, Defendant’s Answer was due on July 5, 2022, but Defendant failed to file its

Answer or other responsive pleading by that date. As such, the Court then ordered Plaintiff to

move for default. ECF No. 6. Subsequently, Defendant filed its Answer. ECF No. 7.

       Accordingly, it is ORDERED that:

          (1) The Court’s order directing Plaintiff to move for default (ECF No. 6) is VACATED;

              and

          (2) Defendant shall notify the Court whether it opposes Plaintiff’s motion to proceed in

              pseudonym (ECF No. 3) within ten days of this order.

       It is so ORDERED.

       SIGNED this 18th day of July, 2022.




                                               _________________________________
                                               XAVIER RODRIGUEZ
                                               UNITED STATES DISTRICT JUDGE
